Case: 2:17-cv-OOOOG-CDP Doc. #: 1-20 Filed: 01/31/17 Page: 1 of 2 Page|D #: 78

AO 440 (Rcv. 12109) Sumrnons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Missouri

ROBERT G. MONGLER

 

Plaint:j@”

v. Civil Aotion No. 2117-0\/-00006
BR|AN KNIGHT, ET AL.

 

quizndam

SUl\'[MONS IN A CIVIL ACTION

LOP CAP|TAL, LLC
MlCHAEL LOPR|ENO

319 DEE COURT
BLOOM|NGDALE, IL 60108

TO! (Defendam 's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or {3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are. DONALD J. SCHUTZ' ESQ.
535 CENTRAL AVENUE
ST. PETERSBURG, FL 33701
727-823-3222
don@|awus.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion with the courtl

CLERK OF CO URT

Da:e: ___ 011311201?

 

S:`gna£ure ofC`leric or Deputy C't`erk

 

Case: 2:17-cv-OOOOG-CDP Doc. #: 1-20 Filed: 01/31/17 Page: 2 of 2 Page|D #: 79

AO 440 (Rev. 12109) Sumruons in a Civil Action (Page 2)
Civil Action No. 2:1'?-0\/-00006

PROOF OF SERVICE
(Thr‘s section should not befch with the court unless required by Fed. R. C:'v. P. 4 (I))

This summons for (name of individual and ritte, r'fany)

 

was received by me on (dare)

EI I personally served the summons on the individual at dolace)

 

on (dare) ; or

 

|:l I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

 

on (dare) , and mailed a copy to the individual’s last known address; or
El l served the sunnnons on (name offedz'vidua£} , who is
designated by law to accept service of process on behalf of (name aforganizao'on)

011 (daie,l ; Or
El I returned the summons unexecuted because ; or
g Other (spec§lj)):
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date:

 

Server 's signature

 

Printcd name and title

 

Server 's address

Additional information regarding attempted service, etc:

